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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No.       11-cv-03238-PAB-KMT

  SAMUEL M. WALKER, pro se
  DIANE H. WALKER, pro se

  Plaintiffs,


  v.

  FRED WEGENER, individual and official capacity
  BOBBY PRIESTLY, individual and official capacity
  CINDY HARDEY, individual and official capacity
  REBECCA BRAMLETT, individual and official capacity
  AMY FRANCK, individual and official capacity
  JUAN GALLEGOS, individual and official capacity
  SGT. BROWN, individual and official capacity
  PARK COUNTY
  JOHN TIGHE, individual and official capacity
  DICK HODGES, individual and official capacity
  MARK DOWALIBY, individual and official capacity
  PARK COUNTY COMMISSIONERS
  JOHN SUTHERS, individual and official capacity
  DEBRA MCLIMANS, individual and official capacity

  Defendants.


       DEFENDANTS’ MOTION FOR EXTENSION OF TIME TO FILE THEIR REPLY IN
              SUPPORT OF THEIR MOTION FOR SUMMARY JUDGMENT


           Defendants, Fred Wegener, Bobby (sic) Priestly, Cindy Hardey, Rebecca Bramlett, Amy

  Franck, Juan Gallegos, and Dep. Sgt. Brown, by and through Timothy P. Schimberg and Andrew

  R. McLetchie of Fowler, Schimberg & Flanagan, P.C., hereby submit their Motion for Extension

  of Time to File Their Reply in Support of Their Motion for Summary Judgment and in support

  thereof state as follows:
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         1.      D.C.COLO.LCivR 7.1(a) Certification:           Undersigned counsel’s office has

  conferred with pro se Plaintiff, Diane Walker, who is unopposed to the relief requested herein.

  Undersigned counsel’s office has attempted to confer with the pro se Plaintiff, Samuel Walker,

  but has been unable to reach him via telephone and email.

         2.      D.C.COLO.LCivR 6.1(e) Certification:         As is reflected on the Certificate of

  Service hereto, a copy of this Motion was served on undersigned counsel’s clients.

         3.      Practice Standard 1.G.2 Certification: This Motion is being filed three business

  days prior to the deadline.

         4.      The current deadline to file Defendants’ Reply in Support of their Motion for

  Summary Judgment is Monday, December 3, 2012.

         5.      Defendants request a one-week extension of time through and including Monday,

  December 10, 2012 by which to file their Reply in Support of their Motion for Summary

  Judgment.

         6.      At this time, counsel for Defendants are unable to complete the Reply Brief for

  the reasons set forth below.

         7.      Timothy P. Schimberg has contracted the flu and is unable to work.

         8.      Andrew R. McLetchie is out of state for a family emergency.

         9.      Under Fed.R.Civ.P. 6(b), an extension of time may be granted for cause shown.

  For all the foregoing reasons, there is good cause for this Motion. No prior extensions have been

  requested for this Reply Brief.




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        WHEREFORE, Defendants respectfully request that the Court enter an Order allowing

  Defendants through and including Monday, December 10, 2012 by which to file their Reply in

  Support of their Motion for Summary Judgment.

        Respectfully submitted this 29th day of November, 2012.

                                            (Original signature on file at the office of Fowler,
                                            Schimberg & Flanagan, P.C.)

                                            s/Andrew R. McLetchie
                                            Timothy P. Schimberg
                                            Andrew R. McLetchie

                                            FOWLER, SCHIMBERG & FLANAGAN, P.C.
                                            1640 Grant Street, Suite 150
                                            Denver, Colorado 80203
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                                            ATTORNEYS FOR PARK COUNTY
                                            DEFENDANTS




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 29th day of November, 2012, I caused a true and correct copy
  of the foregoing to be filed via the ECF system, with notice of same being electronically served
  to the following:

  Herbert C. (Lee) Phillips, Esq.
  Park County Attorney
  Hayes, Phillips, Hoffman & Carberry, P.C.
  P.O. Box 1046
  675 Main Street
  Fairplay, CO 80440

         Transmitted via First Class U.S. Mail, proper postage prepaid, to the following:

  Samuel M. Walker                                  Diane H. Walker
  P.O. Box 14085                                    P.O. Box 59
  Colorado Springs, CO 80914                        Florissant, CO 80816
  Pro Se Plaintiff                                  Pro Se Plaintiff

         Transmitted via email to the following:

  Fred Wegener
  E-mail: fwegener@parkco.us

  Bobby Jo Priestly
  E-mail: bpriestly@parkco.us

  Cindy Hardey
  E-mail: chardey@parkco.us

  Rebecca Bramlett
  E-mail: rbramlett@parkco.us

  Deputy Sgt. Mike Brown
  E-mail: mbrown@parkco.us



                                               s/Leslie Johnson
                                               Leslie Johnson




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